        Case 1:21-cr-00083-TNM Document 81-6 Filed 04/05/22 Page 1 of 5


From:             Furst, Mona (USADC)
To:               Joseph R. Conte (dcgunlaw@gmail.com)
Cc:               Gorup, Geoffrey (USADC)
Subject:          US v. Fellows Pro Se discovery provided in USAfx
Date:             Wednesday, February 16, 2022 3:27:02 PM
Attachments:      image001.png



Mr. Conte –
       The CCTV and some other items from the various 5 pro se discovery sent to Mr. Fellows
has been put into a folder for you to review. Not everything sent to Mr. Fellows or his prior
counsel are included.
Nor is Global discovery which you have access to through Relativity. Most of the Global
discovery materal was sent to Mr. Fellows via the jail, except for Sensitive and Highly Sensitive
materials.

      I also added two videos from other defendants that show Mr. Fellows in Senator
Merkley’s office, smoking marijuana. Below is a link to YouTube where a walk through was
filmed of the office after Jan. 6th.
       I also provided news interviews on CNN and WNYT of your interview. These were
provided previously but for your ease of access I have included them in the folder.

https://www.facebook.com/watch/?v=222464836136603

This is a screen shot of the subfolders.




Regards,

Mona Lee M. Furst
       Case 1:21-cr-00083-TNM Document 81-6 Filed 04/05/22 Page 2 of 5


Assistant United States Attorney
Senior Litigation Counsel
District of Kansas
Detailed to the District of Columbia
1200 Epic Center | 301 N. Main | Wichita, Kansas 67202
Direct line: 316-269-6537
                Case 1:21-cr-00083-TNM Document 81-6 Filed 04/05/22 Page 3 of 5


Obi, Ngozichukwuka (USADC) [Contractor]

From:              Furst, Mona (USADC)
Sent:              Sunday, February 20, 2022 2:02 PM
To:                Joseph R. Conte (dcgunlaw@gmail.com)
Cc:                Geoffrey Gorup (USAMOW) (GGorup@usa.doj.gov)
Subject:           US v. Fellows BWC of Fellows outside



Mr. Conte –
      I added a BWC folder with a clip from an officer where Mr. Fellows is seen briefly. I also included a
screen shot with the time mark on it so you can look for that on the video.




Regards,

Mona Lee M. Furst
Assistant United States Attorney
Senior Litigation Counsel
District of Kansas
Detailed to the District of Columbia
1200 Epic Center | 301 N. Main | Wichita, Kansas 67202
Direct line: 316‐269‐6537




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         Case 1:21-cr-00083-TNM Document 81-6 Filed 04/05/22 Page 4 of 5




                                                          U.S. Department of Justice

                                                          MATTHEW M. GRAVES
                                                          United States Attorney

                                                          District of Columbia


                                                          Judiciary Center
                                                          555 Fourth St., N.W.
                                                          Washington, D.C. 20530


                                                        March 9, 2022


Brandon Fellows
Inmate #377943
1901 D Street SE
Washington, DC 20003


        Re:     Government’s Response to Defendant’s Motion ECF 58-1
                in United States v. Brandon Fellows
                Case No. 21-cr-83 TNM

Mr. Fellows:

        Enclosed you will find a response (with attachments Exhibits A-G) to your pro se motion
regarding access to court violations, filed as ECF 58-1. Your standby counsel, Mr. Joseph R. Conte, was
emailed the Response and a copy of your Motion, ECF 58-1, on

        The Government will continue to provide individual discovery as it becomes available in addition
to any future global discovery that you are allowed to view without supervision. If you have any
questions, please feel free to contact me at mona.furst@usdoj.gov or 316-269-6537.

                                                        Sincerely,

                                                        /s/ Mona Lee M. Furst
                                                        Mona Lee M. Furst
                                                        Assistant United States Attorney
Enclosure(s)
cc: Joseph R. Conte
                Case 1:21-cr-00083-TNM Document 81-6 Filed 04/05/22 Page 5 of 5


Obi, Ngozichukwuka (USADC) [Contractor]

From:               Obi, Ngozichukwuka (USADC) [Contractor]
Sent:               Tuesday, March 8, 2022 4:14 PM
To:                 dcgunlaw@gmail.com
Cc:                 Furst, Mona (USADC)
Subject:            Cover letter for US. v. Fellows - Response to pro se Motion 58-1 and sealed exhibits
Attachments:        Pro Se production _ Govt Resp to ECF 58-1.pdf



Good afternoon, Mr. Conte,

Here is the cover letter to go along with Govt Resp to ECF 58-1 documents that were emailed March 7th.

Please make sure that Mr. Fellows get this cover letter in addition to the gov’t response. Please let us know if
you have any questions.

Thank you,
Ngozi Obi




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